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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Civil Action No. 08-2177 (DMC) (JAD)
IN RE MERCK & CO., INC.

VYTORIN/ZETIA SECURITIES

LITIGATION ORDER

THIS MATTER having been opened to the Court by Carella, Byrne, Cecchi, Olstein,

Brody & Agnello, Co-Liaison Counsel for Plaintiffs in the above matter, and Defendants
consenting hereto, and good cause appearing,

gam

ITISTHIS day of November, 2010

ORDERED that Lead Plaintiff Deka International (Ireland) Limited is hereby withdrawn

Su Af

JOSEPH A. DICKSON, U.S.M.J.

as Lead Plaintiff and as a plaintiff.

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